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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 KATELYN EBNER,
 PRINCESS MBAMARA,
 AYOKUNLE ORIYOMI, and
 BRITTANY PENWELL,

              Plaintiffs,                     CIVIL ACTION FILE NO.
      v.
                                              1:17-cv-3722-MLB
 COBB COUNTY, through its
 Instrumentality the COBB COUNTY
 POLICE DEPARTMENT; and
 OFFICER TRACY CARROLL a.k.a.
 “T.T.” CARROLL, in his individual
 capacity.

              Defendants.

        JOINT MOTION AND BRIEF FOR PROTECTIVE ORDER

      All parties move the Court under Fed. R. Civ. 26(c) to enter the attached

proposed protective order. The proposed order requires confidentiality of all

records containing any of the following information produced by any party to this

suit: social security numbers, dates of birth, home addresses of parties and law

enforcement officers, home and cell telephone numbers of parties and law

enforcement     officers,   medical   information,   payroll   information,   credit

information, tax information and returns, and other sensitive and confidential

identifying information.

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      This order is necessary to protect the confidentiality and privacy of the

parties and law enforcement personnel. All parties consent to this motion. 1

                                      Respectfully submitted,


                                      s/ Aklima Khondoker
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                                      Attorneys for Plaintiffs

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      This document has been prepared in Times New Roman (14 pt.) font,
which has been approved by the Local Rules of this Court.
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 capacity.

            Defendants.

                          CONSENT PROTECTIVE ORDER

      This case is in discovery and the parties have acknowledged the need to protect

the confidentiality of certain sensitive confidential and identifying information.

Accordingly, good cause having been shown within the meaning of Fed. R. Civ. P.

26(c)(1)(D, G) and the parties having agreed, the Court hereby orders:

   1. All records containing any of the following information produced by any party

      to this suit shall be treated as confidential by all parties to the litigation: social

      security numbers, dates of birth, home addresses of parties and law enforcement

      officers, home and cell telephone numbers of parties and law enforcement
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   officers, medical information, payroll information, credit information, tax

   information and returns, and other sensitive and confidential identifying

   information. (“Confidential Information”).

2. Confidential Information and all copies, summaries, compilations, and notes or

   abstracts thereof shall be used exclusively in this action and for no other

   purpose. Upon completion of this action, all Confidential Information together

   with any copies thereof shall either be destroyed or returned to the providing

   counsel, at said counsel’s election.      Any and all lists used to identify

   Confidential Information shall, upon conclusion of this action, also be

   maintained as strictly confidential under the terms of this paragraph, and shall

   be returned or destroyed under the terms of this paragraph.

3. Confidential Information may be disclosed to persons employed as experts or

   independent consultants by counsel and employees of counsel who have a need

   to review Confidential Information to aid in the litigation of this case. All

   persons to whom disclosure is made shall maintain and honor the

   confidentiality of such information except as disclosure is necessary for

   handling this litigation. Disclosure of Confidential Information to persons other

   than counsel, the parties, and counsels’ employees shall be conditioned upon




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   such persons agreeing to be bound by this Order and signing a statement to that

   effect.

4. Parties wishing any document to be filed under seal must first present a motion

   and/or consent order regarding said document, and a copy of the document

   sought to be sealed, to the Court. Such motion or consent order should explain

   with particularity and citations to authority why the document should be filed

   under seal. The Clerk of the Court is not authorized to accept for filing any

   document designated as sealed without an Order from the Court approving

   specific documents to be filed under seal.

5. Any documents (including briefs), tangible things or information designated as

   Confidential that are submitted to the Court in support of or in opposition to a

   motion or introduced at a hearing or trial may retain their protected confidential

   status only by order of the Court in accordance with the procedures outlined in

   Appendix H (Standing Order No. 16-01, Electronic Case Filing and

   Administrative Procedures) of the Local Rules of the Northern District of

   Georgia.

6. An inadvertent failure to declare or mark a document as “Confidential” does not

   waive the right of the party seeking protection to correct that oversight.

   Similarly, a party’s inadvertent failure to mark another party’s records as

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   confidential does not give rise to any type of damages or cause of action, but

   the party seeking confidentiality protection may require that the oversight be

   corrected.

7. This Order shall govern all pretrial proceedings, but shall be subject to

   modification either before, during, or after trial, upon consent of the parties or

   by the Court. This Order shall not affect the rights of any party to use summary

   data or calculations based on such calculations. Any Confidential Information

   that is admitted into evidence shall not lose its confidential designation under

   this Order unless expressly ordered by the Court.

8. The provisions of this Order shall not affect the admissibility of evidence or any

   objections to evidence at trial or in any other proceedings in Court except as

   may be provided by separate Order or agreement. In addition, nothing in this

   order shall be construed as making any particular information or document

   discoverable in this action which might otherwise be objectionable.



   IT IS SO ORDERED, this ____ day of ______________, 2018.



                                   ________________________________
                                   MICHAEL L. BROWN
                                   United States District Judge

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CONSENTED TO:


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 “T.T.” CARROLL, in his individual
 capacity.

             Defendants.

                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically filed the foregoing

JOINT MOTION AND BRIEF FOR CONSENT PROTECTIVE ORDER with

the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to the following attorneys of record:

             Sean J. Young, Esq.
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     This 23rd day of February, 2018.


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